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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
YSAEL ESPINOSA,                                                       Docket No. 18-CV-8855 (LGS)

                                   Plaintiff,

                   -against-

ABRAHAM REFRIGERATION A/C CORP. d/b/a
ABRAHAM REFRIGERATION CORPORATION,
ABRAHAM REFRIGERATION CORP., d/b/a
ABRAHAM REFRIGERATION, and
ABRAHAM PEREZ,

                                    Defendants.
------------------------------------------------------------------X




                    DEFENDANT’S PRE-TRIAL MEMORANDUM OF LAW




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        Defendants,   ABRAHAM          REFRIGERATION          A/C    CORP.     d/b/a   ABRAHAM

REFRIGERATION          CORPORATION,          ABRAHAM         REFRIGERATION          CORP.,     d/b/a

ABRAHAM REFRIGERATION, and ABRAHAM PEREZ (hereinafter “Defendants”), submit

this Pre-Trial Memorandum pursuant to the Court’s Scheduling Order dated April. 9, 2019.

                                PRELIMINARY STATEMENT

        Plaintiff claims he is owed compensation from Defendants because of his time as an

employee for Abraham Refrigeration Corp. from January, 2018 until July 19, 2018. However,

Defendants explain first, Plaintiff was compensated for any “yard work” he completed and second

Plaintiff was a trainee/apprentice, also known as an unpaid intern, regarding the service call duties

where plaintiff would shadow Abraham Perez in order to learn the trade.

                                   STATEMENT OF FACTS

   I.      Abraham Refrigeration

        Abraham Perez is the owner and operator of the corporate Defendant Abraham

Refrigeration Corporation or Abraham Refrigeration Corp., d/b/a Abraham Refrigeration.

Abraham refrigeration is a family-owned business that specializes in HVA/C&R parts and

supplies, as well as full Air Conditioning Installations, Service, and Maintenance on all HVAC

systems in the greater New York area. Abraham refrigeration has been a community-based

enterprise that has lent a hand in the construction of many landmark businesses in the Bronx and

Manhattan for over twenty (20) years. From small grocery stores to large franchise supermarkets,

Abraham Refrigeration’s personal service won the hearts of many entrepreneurs looking for cost

effective yet optimal HV A/C services.

        Abraham Refrigeration was established in 1992 with one goal in mind, to bring cost

effective professional HVAC sales and service to the greater New York City area. For more than




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two (2) decades Abraham Refrigeration has found new solutions to old problems and led the way

in cost cutting refrigeration solutions for small businesses. Abraham Refrigeration has also

introduced the sale of home major appliance repair to bring further savings to homeowners, while

still providing great pricing opportunities to our contractor customers. Additionally, Abraham

Refrigeration A/C Corp. was incorporated in 2015 and has performed no work. Plaintiff Ysael

Espinosa (“Espinosa”) never performed any work for Abraham Refrigeration A/C Corp., which

was incorrectly named as a Defendant in this case. 1

    II.      Abraham Refrigeration’s commitment to helping natives of the Dominican
             Republic

          Since its founding, Abraham Refrigeration, led by its owner, Abraham Perez (“Perez”), has

made special efforts to help younger, inexperienced natives of the Dominican Republic, who were

seeking to immigrate to the United States, find work. Perez is a native to the Dominican Republic

and has many friends and family members that travel back and forth from the United States and

the Dominican Republic, many of whom are seeking to permanently immigrate into and work in

the United States.

          Over the last twenty (20) plus years, Perez has hired many such young inexperienced

natives of the Dominican Republic to teach them the skills of HVAC service and repair. If these

individuals had to go to a technical school in the United States to learn the skills taught by Perez

to these interns or apprentices, it would cost tens of thousands of dollars. Typically, after training

and/or apprenticing at Abraham Refrigeration for three to six months, these individuals move on

to higher paying careers in the HVAC field or even open up their own HVAC business. These

trainees/apprentices did not displace any regular employees and their work did not expedite



1
 All references below to Abraham Refrigeration refer to Abraham Refrigeration Corp./Corporation and
not to Abraham Refrigeration A/C Corp.


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Abraham Refrigeration’s business. The trainees/apprentices did not expect to receive any

compensation and would not necessarily be hired upon successful completion of their course of

study. The training course of study was similar to one offered by a vocational school. Abraham

Refrigeration received no immediate advantage from work done by the trainees.

   III.      Ysael Espinosa

          In or about January 2018, Perez was approached by Plaintiff Espinosa’s uncle, who had

done business with Abraham Refrigeration in the past. In fact, Perez knew a number of Espinosa’s

family members from the Dominican Republic as well as the United States, including Espinosa’s

mother. Perez was asked to hire Espinosa because apparently Espinosa had received some training

in HVAC work in the Dominican Republic and was interested in pursuing a career in that field.

Perez did not have a need to hire a full-time employee, so he agreed to hire Espinosa on a part-

time basis whereby he would be treated also as a trainee/apprentice as Abraham Perez had done in

the past with others.

          Espinosa was hired by Perez on behalf of Abraham Refrigeration on or about January 10,

2018. Throughout his employment, he would spend approximately 20 hours per week, but no more

than 23 hours per week, at Abraham Refrigeration’s yard at 2360 Washington Avenue, Bronx,

New York 10458 engaging in inventory-related tasks and communicating with Perez via text or

telephone. For the balance of his week, Espinosa would accompany Perez into the “field” and

watch Perez meet customers on service calls and repair/replace HVAC systems in those customer’s

homes and places of work.

          For the “yard work” performed by Espinosa, Abraham Refrigeration paid him $300 a week.

For the “service call” related duties, Espinosa was treated as an unpaid intern. The service call

related work did not displace any regular employees and did not expedite Abraham Refrigeration’s




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business. Espinosa should not have expected to receive any compensation for the service call

related work and knew that he would not necessarily be hired upon successful completion of his

course of study. The training course of study given by Abraham Perez to Espinosa was similar to

one offered by a vocational school. Further, Abraham Refrigeration received no immediate

advantage from service call related work done by Espinosa. The last day that Espinosa worked at

Abraham Refrigeration was July 19, 2018.

                 ARGUMENT: Plaintiff was an Unpaid Intern of Defendants

       The United States Supreme Court has recognized that unpaid trainees should not be treated

as employees, and thus are beyond the reach of the FLSA's minimum wage provision. See Walling

v. Portland Terminal Co., 330 U.S. 148, 67 S.Ct. 639, 91 L.Ed. 809 (1947). The factors considered

by the Walling court were: (i) the interns were not displacing any regular employees and their

work did not expedite the employer’s business; (ii) they did not expect to receive any compensation

and would not necessarily be hired upon successful completion of the course; (iii) training course

similar to one offered by a vocational school and (iv) employer received no immediate advantage

from work done by the trainees. See Id.

       In addition, most recently the Second Circuit considered the question of whether an unpaid

intern qualifies as an employee entitled to compensation under the FLSA. Glatt v. Fox Searchlight

Pictures, Inc., 811 F.3d 528 (2d Cir. 2016). The Court held that, in assessing the nature of the

relationship between an intern and his employer, “the proper question is whether the intern or the

employer is the primary beneficiary of the relationship.” Id. at 536. This “primary beneficiary

test,” has “three salient features:” (1) its “focus[ ] on what the intern receives in exchange for his

work,” (2) its “flexibility to examine the economic reality” of the relationship, and (3) its

acknowledgement that the intern-employer relationship is subject to unique considerations in light




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of the intern’s expected “educational or vocational benefits that are not necessarily expected with

all forms of employment.” Glatt v. Fox Searchlight Pictures, Inc., 811 F.3d 528 (2d Cir. 2016);

See also Vaughn v. Phoenix House Found., Inc., No. 14-CV-3918 (RA), 2019 WL 568012, at *3

(S.D.N.Y. Feb. 12, 2019).

        The Court in Glatt set out a non-exhaustive set of considerations for whether an individual

can qualify as an unpaid intern. Glatt v. Fox Searchlight Pictures, Inc., 811 F.3d 528 (2d Cir. 2016).

The factors include (1) an understanding between intern and employer that there is no expectation

of compensation; (2) the extent to which the internship provides training that would be similar to

that which would be given in an educational environment including the clinical and other hands

on training provided by educational institutions; (3) whether it is tied to the intern’s formal

education program by integrated coursework or receipt of academic credit; (4) internship

accommodates the intern’s academic commitments by corresponding to academic calendar; (5)

internship duration is limited to the period in which the internship provides the intern with

beneficial learning; (6) the intern’s work complements, rather than displaces, the work of paid

employees while providing significant educational benefits to the intern; and (7) understanding

that the internship is conducted without entitlement to a paid job at the conclusion of the internship.

Id. The New York Department of Labor as well as United States Department of Labor have issued

a fact sheet explaining the seven factors outlined in Glatt.

        Plaintiff argues under the Glatt factors Plaintiff was not an intern. However, for the

foregoing reasons Plaintiff was considered an unpaid intern under Glatt.

   I.      No Expectation of Compensation

        The first factor is, “the extent to which the intern and the employer clearly understand




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that there is no expectation of compensation. Any promise of compensation, express or implied,

suggests that the intern is an employee—and vice versa.” Glatt v. Fox Searchlight Pictures, Inc.,

811 F.3d 528, 536–37 (2d Cir. 2016). Here, although Plaintiff was paid $300 per week that

money was for Plaintiff’s time spent in the yard not for his time on service calls learning the

trade from Perez. As to the “yard work,” Defendants paid Plaintiff at or more than the minimum

wage and no overtime wages were earned as required pursuant to the above provisions because

he was paid $300 a week for less than 23 hours of work. As to the “service call” related work,

Plaintiff was not an employee under the FLSA and therefore, Espinosa should not have expected

to receive any compensation for the service call related work.

         Additionally, Defendants made Plaintiff aware they were not in a position to hire a new

employee rather decided to train Plaintiff as a favor to the Plaintiff’s family.

   II.      Training Similar to Vocational School

         The second factor is “[t]he extent to which the internship provides training that would be

similar to that which would be given in an educational environment, including the clinical and

other hands-on training provided by educational institutions.” Id. Here, Plaintiff argues it is not an

internship because of the work done in the yard when customers came to buy and sell items.

However, Defendants did pay Plaintiff for the work in the yard and the internship was the service

call experience. The skill plaintiff learned while on the service calls with Perez provided training

similar to that received in a vocational school. Furthermore, the skills learned while on service

calls will help Plaintiff in future employment and are not specific to working for Defendant. See

NYDOL Fact Sheet: Wage Requirements for Interns in For-Profit Businesses.

         The third factor is the “extent to which the internship is tied to the intern's formal education

program by integrated coursework or the receipt of academic credit.” and the fourth factor is the




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“extent to which the internship accommodates the intern's academic commitments by

corresponding to the academic calendar. Id. Although here, Plaintiff’s position as an apprentice

was not tied to any formal education the Second Circuit said “[a]pplying these considerations

requires weighing and balancing all of the circumstances. No one factor is dispositive and every

factor need not point in the same direction for the court to conclude that the intern is not an

employee entitled to the minimum wage.” Id.

   III.      Duration of the Internship

          The fifth factor is the “extent to which the internship's duration is limited to the period in

which the internship provides the intern with beneficial learning” and the seventh factor is the

“extent to which the intern and the employer understand that the internship is conducted without

entitlement to a paid job at the conclusion of the internship.” Id. Espinosa should not have

expected to receive any compensation for the service call related work and knew that he would not

necessarily be hired upon successful completion of his course of study. When Plaintiff left

Abraham Refrigeration he was still learning the trade. Defendant has in the past took on

apprentices and trainees whom he taught until they learned the trade and they then went on to work

for other businesses or start their own business. Further, Plaintiff was aware that Perez was helping

him out and teaching him as a favor to the family.

   IV.       Plaintiff’s Work Complements the Work of Paid Employees

          The sixth factor considers the “extent to which the intern's work complements, rather than

displaces, the work of paid employees while providing significant educational benefits to the

intern.” Id. The service call related work did not displace any regular employees and did not

expedite Abraham Refrigeration’s business Plaintiff went on service calls with either Perez or an

employee of Abraham Refrigeration. Plaintiff was there to learn how the employee did the job.




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The Second Circuit in Velarde v. GW GJ, Inc., explained because the “cosmetology student” who

performed unpaid work at a salon—conducted his work “under the watchful eye of its industry

experienced educators,” the fact that he was “otherwise useful or productive to the Academy did

not render him its employee.” 914 F.3d 779, 788 (2d Cir. 2019); see also Vaughn v. Phoenix House

Found., Inc., No. 14-CV-3918 (RA), 2019 WL 568012, at *6 (S.D.N.Y. Feb. 12, 2019). Plaintiff

claims there is no “significant educational benefit” here however, the Plaintiff in fact did learn

skills as a trainee to help with future employment in the field.

       In sum, the factors as a whole lend themselves to show first, that the internship test is

relevant and second, the primary beneficiary of the relationship was in fact Plaintiff.

                                          CONCLUSION

       The undisputed evidence, coupled with additional evidence to be elicited at trial, will

establish that Plaintiff was not an employee with regards to service calls and was merely an unpaid

intern. Plaintiff was paid for the hours worked in the yard and therefore Plaintiff is not entitled to

recovery.

Dated: May 20, 2019
       Glen Cove, New York

                                       Respectfully submitted,




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